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IN THE uNITED sTATEs DIsTRIcT coURT
FoR THE wEsTERN DISTRICT oF TENNESSEE DSAUSZh AH|I=SO
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DEDDRICK cAMPBELL, iale L.":

Plaintiff,

vs. No. 03-27893V
CCL CUSTOM MANUFACTURING, INC.,
STEVE SI-IUTLER, TED MELLINGER,
ROGER BOSS, and CATHY
REGENWETHER,

Defendants.

 

ORDER ON PLAINTIFF'S MOTION FOR C(:)I\TTIN'|Z]ANCEIr PL.AINTIFF'S SECOND
MOTION TO COMPEL PRODUCTION OF DOCUMENTS AND RESPONSES TO
INTERROGATORIES, lAND DEFENDANT’S MOTION TO STAY THE DISPOSITIVE
MOTION DEADLIN'E

 

Before the court are the August 4, 2005 motions of the
plaintiff, Deddriok Campbell, to (a) continue the trial of this
case, or, in the alternative, to enlarge the discovery period, and
(b) to compel the defendants to respond more fully to his discovery
requests and for attorney fees and expenses in bringing the motion
to compel. Both motions of the plaintiff arise out of two issues
that the plaintiff contends were not adequately disclosed during
discovery: (1) the defendants' reasons for reducing plaintiff's
overtime; and (2) a training manual used by the defendants' safety
supervisor at the Memphis plant to educate employees on harassment

and drug testing. The defendants oppose the continuance and oppose

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the motion to compel and request for attorney fees. The defendants
insist that they have fully responded to the plaintiff's discovery
requests and that they should be awarded fees for having to respond
to the motion to compel.

Also before the court is the August 19, 2005 motion of the
defendants, CCL Custom Manufacturing, Inc., Steve Shutler, Ted
Mellinger, Roger Boss, and Cathy Regenwether, to stay the current
deadline for filing dispositive motions for ten days from entry of
an order denying the plaintiff's pending motions to continue and to
compel or for thirty days from any new discovery deadline should
the court grant the plaintiff's motion to continue.

All the motions were referred to the United States Magistrate
Judge for determination. For the reasons that follow, the motion
to continue is denied, the motion to compel is denied, the request
for fees and expenses is denied, and the motion to stay the
dispositive motion deadline is granted.

The plaintiff filed this case nearly two years ago in state
court. It was removed to federal court in October of 2002. On
several occasions, the scheduling order has been amended and the
time for discovery enlarged. Most recently, by order dated June
16, 2005, the court extended the discovery deadline to July 29,
2005.

The plaintiff now contends that he learned critical facts

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during the depositions on July 28 and 29, 2005, of Janet Taylor,
the human resources manager of the Memphis CCL plant, and Kathy
Regenwether, the safety, training and security supervisor of the
Memphis CCL plaint, which information had been requested in
previously propounded discovery. Specifically, the plaintiff
claims that he learned for the first time that CCL had lost a large
portion of one its production lines because Unilever withdrew its
business from CCL's Memphis plant during the last quarter of 2002
necessitating a reduction of overtime for employees in the plant,
and, in particular, “compounders,” which was the plaintiff's job
classification. Secondly, he claims that for the first time he
learned of the existence of a training packet, in addition to the
previously produced hourly employee handbook and the
manager/supervisor handbook, used by Regenwether to educate
employees and.managers about CCL's anti-harassment policy and drug-
testing policy. The plaintiff claims these two items of
information were responsive to interrogatories Nos. 1, 2, 7, 10 and
13 and Requests Nos. 4, 7, 8, 12, 14, 21, 22, and 25. As a result,
the plaintiff seeks an enlargement of time, to allow him “to
develop his case."

The defendants refute the plaintiff's contention that they
have not previously provided the plaintiff with an explanation of

the plaintiff's loss of overtime - a loss of business - on several

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occasions, specifically, their response to the Tennessee Human
Rights Commission, computer generated logs of overtime bearing
Bates Nos. 33-67, plaintiff's union grievance concerning loss of
overtime, and the deposition testimony of John Ahrendt, the
defendant's Rule 30(b)(6) witness. In addition, the defendants
have satisfactorily explained to the court that the training
“packet” consists of the Salaried Employee Handbook, which is not
relevant to this case because the plaintiff was not a salaried
employee, and a pamphlet entitled “Preventing Workplace Sexual
Harassment” which is also not relevant to this case because there
are no allegations of sexual harassment.

It is well-settled that the Federal Rules of Civil Procedure
are liberally construed to permit the amendment of pleadings, the
addition of parties, and to generally control the progress of the
litigation. See e.g., Bradford v. Dana Corporation, 249 F.3d 807,
809 (Sth Cir. 2001). However, scheduling and case nanagement
orders are subject to “a less forgiving standard.” Id. Rule 16(b)
of the Federal Rules of Civil Procedure provides that “[a] schedule
shall not be modified except upon a showing of good cause and by
leave of the district judge.” Consequently, the burden is upon the
moving' party to establish. a, good cause justification for the
amendment of a scheduling order. Id. Once this showing is made,

the district court must exercise its discretion as to whether to

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grant the motion. Id.

Here, the court finds that the plaintiff has failed to
establish good cause to grant a continuance or to enlarge the
period of discovery. Neither of the facts which form the basis of
the plaintiff's request are “newly discovered.” Nor has the
plaintiff demonstrated what additional discovery, if any, is
needed. After nearly two years of litigation, the defendants are
entitled to have this case move forward toward a disposition.
Because the plaintiff has failed to show good cause, his motion for
leave to amend the Rule 16(b) scheduling order to permit further
discovery and to continue the trial is denied. The motion to compel
is denied as the court finds that the defendant has complied with
the requests. Each side is to bear its own fees and expenses.

The dispositive motion is extended for twenty days, up to and
including, Monday, September 12, 2005. The requests for a hearing
on the motions are denied.

IT IS SO ORDERED this 23rd day of August, 2005.

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DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

 

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This notice confirms a copy of the document docketed as number 49 in
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Honorable J. Breen
US DISTRICT COURT

